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                                                State of New Jersey
PHILIP D. MURPHY                             OFFICE OF THE ATTORNEY GENERAL                                       MATTHEW J. PLATKIN
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   Lt. Governor                                            PO Box 112                                                    Director
                                                    TRENTON, NJ 08625-0112



                                                        May 24, 2022

        VIA CM/ECF
        The Honorable Sharon A. King, U.S.M.J.
        Mitchell H. Cohen Building & U.S. Courthouse
        4th & Cooper Streets
        Camden, New Jersey 08101

                  Re:   Emily Van Duyne v. Dr. Harvey Kesselman, et al.
                        Civil Action, Docket No. 1:19-cv-21091

        Dear Judge King:

                This office represents the Defendants in the above referenced matter. At a telephone
        conference held on April 27, 2022, the parties advised Your Honor that we have reached a
        settlement agreement in principle. The parties were instructed to advise the Court in writing once
        a settlement has been reached, and if necessary, appear for a telephone status conference on May
        26, 2022 at 4:00 PM.

               Our office has reduced the agreement to writing and have sent it to our client for approval.
        However, it has recently come to our attention that one of the Defendants is out of the country,
        and will not be able to review and approve the agreement until her return.

               For this reason, Defendants respectfully request a two-week adjournment of the May 26,
        2022 telephone conference to allow for all Defendants to review the settlement agreement and
        execute the documents. I have spoken to Patricia Barasch, Esq., counsel for Plaintiff, and she has
        graciously consented to this request. If this request is granted, the telephone status conference will
        be scheduled for June 9, 2022, or at an alternative convenient time for the Court.




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       I thank Your Honor for your courtesies in this regard.

                                            Respectfully submitted,

                                            MATTHEW J. PLATKIN
                                            ACTING ATTORNEY GENERAL OF NEW JERSEY

                                      By:    /s/ Hasibul Haque
                                             Hasibul Haque
                                             Deputy Attorney General

C: Patricia Barasch, Esq. (via ECF)
